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                                                             *        APR 28 2017       *
                                                             LONG ISLAND OFFICE
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                              COMPLAINT

            - against -                               (18 U.S.C. § 225l(a))

KEVIN RIZO,

                      Defendant.

------------------------------X
EASTERN DISTRICT OF NEW YORK, SS:

              DEBRA GERBASI, being duly sworn, deposes and states that she is a Special

Agent with the United States Department of Homeland Security, Homeland Security

Investigations, duly appointed according to law and acting as such.

              In or about and between June 2016 and April 2017, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendant KEVIN RIZO did knowingly and intentionally employ, use, persuade, induce,

entice and coerce a minor to engage in sexually explicit conduct for the purpose of producing

visual depictions of such conduct, which visual depictions were produced using materials

that had been mailed, shipped and transported in and affecting interstate and foreign

commerce and which visual depictions were transported and transmitted using a means and

facility of interstate and foreign commerce.

              (Title 18, United States Code, Section 225l(a))
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                The source of your deponent' s information and the grounds for her belief are

as follows: 1

                1.    I have been employed as a Special Agent with the Department of

Homeland Security and its predecessor agencies since 2002 and am currently assigned to the

Child Exploitation Group ("CEG"). I have gained expertise in child pornography and

exploitation investigations through training in seminars, classes, and daily work related to

conducting these types of investigations, including the execution of multiple search warrants

relating to child pornography offenses and the subsequent prosecution of offenders.

                2.    I am familiar with this investigation based on my own personal

participation, my review of documents and reports, my training and experience, and

discussions I have had with other law enforcement personnel concerning this investigation

and the creation, distribution, and proliferation of child pornography. Statements

attributable to individuals herein are set forth in sum and substance and in part.

                3.    On or about November 29, 2016, a parent ("PARENTI") filed a report

with an HSI tip line that her twelve year old son ("MCVI ")and a second twelve year old boy

("MCV2") had been contacted by an lnstagram user demanding nude photos. A subsequent

interview with PARENT I revealed that MCV I had been contacted by an lnstagram account

with two monikers, hereinafter referred to as IA! and IA2. The account holder demanded

nude photos ofMCVI.




       1       Because the purpose of this Complaint is to set forth only those facts necessary
to establish probable cause to arrest, I have not described all the relevant facts and
circumstances of which I am aware.
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              4.      An interview with MCV2 on or about November 30, 2016 confirmed

that MCV2 had also been contacted by IA1/IA2, and that MCV2 had responded to IAl 's

demand for nude photos by sending a picture of his genitals. MCV2 further stated that IAl

threatened to tell MCV2's family, friends, and Instagram followers what MCV2 had done if

MCV2 did not send further photos and videos. In response, MCV2 sent approximately

twenty photos and ten videos showing MCV2 exposing and touching his genitals to IAl.

              5.      On or about February 1, 2017, HSI Special Agents interviewed a

thirteen year old boy ("MCV3") and his mother. MCV3 stated that in or about December

2016, someone contacted him asking for nude images via Instagram. When asked whether

IA2 or IAl sounded familiar, MCV3 stated that he believed he was contacted by the IA2

moniker. MCV3 stated that the account holder repeatedly asked for' nude images over a

period of several days. The account holder sent MCV3 a picture of an erect penis,

indicating that the picture depicted MCV3. MCV3 told the interviewing agents that the

picture was not of him, but stated that the account holder had threated to send the picture to

MCV3's friends ifMCV3 did not send nude pictures. MCV3 denied sending any nude

pictures to the account holder.

              6.       On or about February 14, 2017, HSI Special Agents interviewed a

thirteen year old boy ("MCV4"), who stated that stated that he had been contacted by the

account IA2 in or about December 2016. MCV4 stated that the account holder asked him

for nude pictures and videos and that MCV4 acquiesced, sending the account one picture and

approximately one or two videos. On or about December 16, 2016, HSI agents obtained a

search warrant for the Instagram account IA2 (the "December 16, 2016 Search Warrant.").
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     That search revealed the following communication between MCV4, using his Instagram

     moniker ("MCV4I"), and IA2 from December 5, 2016:

                   IA2:       "Send and I'll send back."
                   MCV4I:      [Sends a photo of his penis]
                   IA2:       "Chill"
                   IA2:       "Is that u??"
                   MCV4I:      "Yeah"
                   IA2:       "Show me a few more"
                   IA2:       "I wanna make sure it's u".
                   IA2:       "But the whole thing even the tip".
                   MCV4I:      [Sends a photo of his penis]
                   MCV4I:      "idk why but Instagram zooms in" .
                   IA2:        "Plz".
                   MCV4I:       "What?"
                   IA2:        "LOL just take the shot further away".
                   IA2        "Use the insta camera"

                   7.      Records obtained from Instagram pursuant to the December 16, 2016

     Search Warrant revealed conversations between IA2 and several other teenage boys. Those

     conversations were threatening in nature and sexually explicit.

                   8.      On or about October 28, 2016, a thirteen year old boy living in Nassau

     County ("MCV5") and his father reported to Nassau County Police officers that an Instagram

     user with the account name IA! had requested a friendship with MCV5 on Instagrarn, asked

     to communicate via Snapchat using the account moniker hereinafter referred to as SAl, and

     then asked MCV5 for nude photos. When MCV5 refused, SAl stated that she would kill

     herselfifMCV5 refused to send photos. In response, MCV5 sent a nude photo. SAl

     threatened to tell "[her] father" or call the police ifMCV5 did not send additional photos.

     Since approximately June 2016, MCV5 has sent SAi nude photos on approximately a daily

     basis, out of fear that SAi would follow through on those threats.
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              9.     During one of the aforementioned conversations, SAl provided MCVS

with a phone number. A search oflaw enforcement databases revealed that that phone

number is associated with a Nextplus account. Subscriber records for the Nextplus account

associated with that phone number revealed that the account was subscribed to the user email

rkiisilent@gmail.com. Additionally, information obtained from Nextplus indicated that the

account had been logged into through the IP address 69.203.13.166 on or about October 2,

2016, October 4, 2016, October 12, 2016, October 16, 2016, October 28, 2016, and October

31, 2016.

              10.    Information obtained from Internet Service Provider Time Warner

Cable via subpoena indicates that the IP address 69.203.13.166 was assigned to an account

holder located at the defendant KEVIN RIZO's residence (the "Flushing Address") on or

about October 4, 2016, October 28, 2016 and October 31, 2016.

              11.    On or about December 2, 2016, a fourteen year old boy residing in

Nassau County ("MCV6") and his parents reported to Nassau County Police officers that on

November 30, 2016, MCV6 had been contacted by an Instagram user with the moniker IA2,

who demanded nude photos. When MCV6 refused, IA2 sent MCV6 a message saying,

"well it would be a shame if this got out of hand" and sent a screen shot ofMCV6's sister's

Instagram page and MCV6's mother's Facebook status. MCV6 then sent videos and photos

of his penis to IA2. On December 1, 2016, IA2 directed MCV6 to create additional videos

and instructed MCV6 on what to do by saying, for instance, "Lay down and play with it."

That day, MCV6's friends corresponded with IA2, and told MCV6 that IA2 had sent them

nude photos ofMCV6.
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               12.    Information obtained from Instagram reveals that the same account has

used the monikers IAl and IA2 and that the IP address 69.203.13.166 has been used

repeatedly to log into that account (the "Instagram Account"), including on or about

December l, 2016,,when the account was in contact with MCV6. Such information also

reveals that the Instagram Account is associated with the email address

silenttype93@gmail.com.

               13.    Information obtained from Snapchat reveals that the account using the

moniker SAl (the "Snapchat Account") has repeatedly been logged into using the IP Address

69.203.13.166, including on October 28, 2016, when SAl was in contact with MCV5. Such

information also reveals that the Snapchat Account is associated with the email account

silenttype3@gmail.com. 2

               14.    On or about March 27, 2017, Nassau County detectives subpoenaed T-

Mobile to obtain account information associated with the IP addresses used to log into the

lnstagram and Snapchat Accounts. Information obtained pursuant to that subpoena

indicates that the Instagram and Snapchat Accounts were logged into using IP addresses

associated with a cellular telephone assigned a particular phone number (the "Rizo Phone")

between June 17, 2016 and November 21, 2016.

               15.    On or about April 25, 2017, a search oflaw enforcement records

revealed that the Rizo Phone is associated with the defendant KEVIN RIZO's father at the

Flushing Address.



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               Information from Snapchat reveals the existence of another account with a similar
name and similar associated email address: the moniker hereinafter referred to as SA2,
associated with the email account silenttyype9@gmail.com.
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              16.     On or about April 25, 2017, Magistrate Judge Steven I. Locke issued a

warrant authorizing the search of the Flushing Address and the Rizo Phone. On or about

April 26, 2017, law enforcement agents executed the search warrant.

              17.    The defendant KEVIN RIZO was at the Flushing Address at the time of

the execution of the search warrant and was in possession of the Rizo Phone. I and other

law enforcement agents participated in an interview of the defendant at that time. The

defendant was advised of the identities of the interviewing agents and the nature of the

interview. I advised the defendant of his Miranda rights. Having been advised of his

rights, he agreed to waive them, verbally and in writing, and to speak with me. The

defendant also consented verbally to a search of the Rizo Phone.

              18.    Following his waivers, in sum and substance, the defendant admitted

that he had engaged in sexually explicit dialogue seeking to receive child pornography from

multiple minor child victims in New York and Arizona, including such dialogue with a

minor child victim as recently as a few weeks ago. He also admitted that the email accounts

silentiYPe93@gmail.com, silenttype3@gmail.com, silenttyype9@gmail, the lnstagram

account monikers !Al and IA2, and the Snapchat account monikers SAi and SA2 were his.

The defendant further admitted that the Rizo Phone would contain images of child

pornography both on the phone's camera roll and in a Dropbox application on the phone.

The defendant stated that he had downloaded and saved child pornography to the Dropbox

application on his phone.
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                  WHEREFORE, your deponent respectfully requests that the defendant KEVIN

    RIZO, be dealt with according to law.



                                            DEBRA GERBASI
                                            Special Agent, United States Department of
                                            Homeland Security, Homeland Security
                                            Investigations

    §.'Y~m to before me this
    ~y     of April, 2017

     /s/ Anne Y. Shields
    THE HONORABLE ANNE Y. SHIELDS
    UNITED STATES MAGISTRATE JUDGE
    EASTERN DISTRICT OF NEW YORK
